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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAII

 ALBERT S.N. HEE,              )            Cr. No. 14-00826 SOM
                               )
          Petitioner,          )            ORDER DENYING REQUEST FOR
                               )            CERTIFICATE OF APPEALABILITY
           vs.
                               )
 UNITED STATES OF AMERICA,     )
                               )
          Respondent.          )
 _____________________________ )


       ORDER DENYING REQUEST FOR CERTIFICATE OF APPEALABILITY

            Petitioner Albert Hee was convicted of having

 corruptly interfered with the administration of Internal Revenue

 Service (“IRS”) laws in violation of 26 U.S.C. § 7212(a) and of

 six counts of having filed false tax returns in violation of 26

 U.S.C. § 7206(1).     He is currently serving a sentence of 46

 months imprisonment.     On March 16, 2018, Hee filed a “Motion

 Under 28 U.S.C. § 2255 To Vacate, Set Aside, Or Correct Sentence

 By A Person In Federal Custody.”       On September 25, 2018, this

 court denied that motion, and Judgment was entered against Hee.

            On October 15, 2018, Hee filed a notice of appeal,

 which this court also deems to be a request that this court

 grant a certificate of appealability.        See United States v.

 Asrar, 116 F.3d 1268, 1270 (9th Cir. 1997) (“If no express

 request is made for a certificate of appealability, the notice

 of appeal shall be deemed to constitute a request for a

 certificate.”).     On February 6, 2019, the Ninth Circuit remanded
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 this case for the limited purpose of addressing Hee’s request

 for a certificate of appealability.        That request is denied.

            An appeal may not be taken to the court of appeals

 from a final order in a § 2255 proceeding “[u]nless a circuit

 justice or judge issues a certificate of appealability.”            28

 U.S.C. § 2253(c)(1)(B).      The court shall issue a certificate of

 appealability “only if the applicant has made a substantial

 showing of the denial of a constitutional right.”          28 U.S.C.

 § 2253(c)(2).    When a district court denies a § 2255 petition on

 the merits, a petitioner, to satisfy the requirements of section

 2253(c)(2), “must demonstrate that reasonable jurists would find

 the district court’s assessment of the constitutional claims

 debatable or wrong.”     Slack v. McDaniel, 529 U.S. 473, 484

 (2000).   When, however, a

            district court denies a habeas petition on
            procedural grounds without reaching the
            prisoner’s underlying constitutional claim,
            a [certificate of appealability] should
            issue when the prisoner shows . . . that
            jurists of reason would find it debatable
            whether the petition states a valid claim of
            the denial of a constitutional right and
            that jurists of reason would find it
            debatable whether the district court was
            correct in its procedural ruling.

 Id.

            As set forth in the court’s order, this court

 determines that no reasonable jurist would find this court’s

 assessment of the merits of Hee’s constitutional claims

                                      2
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 debatable or wrong.     Nor would any reasonable jurist determine

 that the procedural grounds for denying Hee’s § 2255 petition

 would be debatable.     The vast majority of Hee’s § 2255 petition

 related to the IRS’s alleged fabrication of evidence and the

 Government’s alleged suppression of exculpatory evidence.            These

 claims were an attempt to relitigate claims already rejected by

 the Ninth Circuit and therefore were clearly procedurally

 barred.   His claims of ineffective assistant of counsel were

 new, but the record established that these claims lacked merit.

 Hee failed to demonstrate that his trial attorneys were

 deficient in their representation of him or that he suffered any

 prejudice.

            The court declines to issue a certificate of

 appealability for any claim that Hee may raise on appeal.

            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, February 6, 2019.


                              /s/ Susan Oki Mollway

                              Susan Oki Mollway
                              United States District Judge


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 SOM; ORDER DENYING REQUEST FOR CERTIFICATE OF APPEALABILITY.




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